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                                                                               Projected Cash Flow
                                                                               Case No. 19-11500
                                                2019               2020             2021               2022                 2023                 2024
                                               Nov/Dec
INCOME
            J. Gorski yearly gross wages               36,000        200,000           210,000            220,000              230,000              240,000
                         Social Security                3,026         36,312            36,812             39,312               39,812               40,300
                         Rental Income                  1,200          7,200             3,850                -                    -                    -
                      Sale of Properties                                             1,559,000
SUBTOTAL                                               40,226        243,512         1,809,662            259,312              269,812              280,300

LESS DEDUCTIONS                                         1,836         16,965           16,965                 16,965               16,965               16,965
Taxes                                                   2,978         27,518           29,518                 31,518               33,000               36,000
SUBTOTAL-DEDUCTIONS                                     4,814         44,483           46,483                 48,483               49,965               52,965

TOTAL NET INCOME                                       35,412        199,029         1,763,179            210,829              219,847              227,335
EXPENSES
Class 1: Bank of New York Mtg                          13,331         54,000           375,900
Class 2: SunTrust Bank                                    700          4,200            30,910
Class 3: Daniel Kohn Trust                 Tradeways            Tradeways              600,000    Tradeways            Tradeways            Tradeways
Class 4: IRS Secured Claim                                            24,000           138,453
Class 5: Dept of Labor                     Tradeways            Tradeways      Tradeways          Tradeways            Tradeways            Tradeways
Class 6: General Unsecureds                                            7,980             7,980                 7,980                7,980                7,980
U.S. Trusee Fees                                         650           2,600            16,000                   -                    -                    -
Priority Comptroller                                                  18,000            36,000                   -                    -                    -
Priority IRS                                                          30,000           400,000                85,000               95,000               50,000
Home Rent Expenses                                        -               -             12,000                30,000               32,000               34,000
Insurance                                                 800          6,000             6,500                 6,800                6,950                7,100
Utilities                                               1,000         11,000             9,000                 6,000                7,000                8,000
Home Maintenance                                        1,000          6,000             3,000                 3,200                3,600                3,800
Food                                                    1,500          9,600             9,600                 9,600                9,600                9,600
Clothing/Laundry                                          160          4,800             4,800                 4,800                4,800                4,800
Transportation                                            300          3,560             3,560                 3,560                3,560                3,560
Legal/Professional Fees                                10,000         15,000            17,000                19,000               21,000               25,000
Medical                                                 1,000          7,200             7,200                 7,200                7,200                7,200
Capital Gains Taxes                                                                     60,000
TOTAL EXPENSES                                         30,441        203,940         1,737,903            183,140              198,690              161,040




                                                                                            1
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                                               Projected Cash Flow
                                               Case No. 19-11500
NET INCOME AFTER EXPENSES   4,971    (4,911)         25,276            27,689          21,157   66,295




                                                          2
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                                   Projected Cash Flow
                                   Case No. 19-11500
TOTALS



      896,000
      155,274
       12,250
    1,559,000
    2,622,524

          69,696
         124,532
         194,228

    2,428,296

         443,231
          35,810
         600,000
         162,453

       39,900
       19,250
       54,000
      660,000
      108,000
       27,050
       34,000
       16,800
       39,900
       19,360
       18,100
       82,000
       29,800
       60,000
    2,354,114




                                              3
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                         Projected Cash Flow
                         Case No. 19-11500
74,182




                                    4
